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                                                        U.S. Department of Justice

                                                        Channing D. Phillips
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                        July 22, 2021



Perry de Marco,Sr.
Law Offices of Perry de Marco, Sr
317 South 13th Street
Philadelphia, PA 19107

       Re:   United States v. Richard Michetti
       Case No. 1:21-cr-00232-CRC


Dear Counsel:

       We have provided, via USAFx, preliminary discovery in this case that contains the
following materials:

   •   Chat preview report (folder)
   •   Report.pdf

    Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let me know if there are any
categories of information that you believe are particularly relevant to your client.

        Please contact me if you have any issues accessing the information, and to confer
regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1. I recognize the government’s
discovery obligations under Brady v. Maryland, 373 U.S. 83 (1963), its progeny, and Rule 16. I
will provide timely disclosure if any such material comes to light. Consistent with Giglio, Ruiz,
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and 18 U.S.C. § 3500, I will provide information about government witnesses prior to trial and in
compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                     Sincerely,


                                                     /s//Amy E. Larson____________
                                                     Amy E. Larson
                                                     Assistant United States Attorney




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